Case 1:20-cr-00068-LEK Document 83-16 Filed 07/22/22 Page 1 of 3   PageID.934




                           EXHIBIT 17
Case 1:20-cr-00068-LEK Document 83-16 Filed 07/22/22 Page 2 of 3                                     PageID.935


 From:              Lowell, Abbe
 To:                William C. McCorriston
 Subject:           RE: Nickie Mali Lum Davis
 Date:              Thursday, August 27, 2020 5:41:00 PM


Or suggest a side colloquy with the judge under seal – this is NOT a promise that undercuts Nickie’s credibility as
a witness. It is a side issue




 Abbe David Lowell
 Partner
 Winston & Strawn LLP
 1901 L Street, N.W.
 Washington, DC 20036
 D: +1
 F: +1

 200 Park Avenue
 New York, NY 10166-4193
 D: +1
 F: +1
 VCard | Email | winston.com




From: William C. McCorriston <WMcCorriston@                     >
Sent: Thursday, August 27, 2020 5:40 PM
To: Keller, John (CRM) <John.Keller2@      >
Cc: Sorenson, Ken (USAHI) <Ken.Sorenson@                   >; Lowell, Abbe <ADLowell@            >
Subject: Re: Nickie Mali Lum Davis

I can live with it. My greater concern is confidentiality. If the plea agreement becomes public it would affect both
Nickie and Abbe. Is there a way to make this confidential, perhaps a different document?

Sent from my iPhone



         On Aug 27, 2020, at 11:27 AM, Keller, John (CRM) <John.Keller2@            > wrote:


         Thanks, Bill.

         That language looks good to me and largely mirrors what I proposed to Abbe. I have an edit to one
         sentence included below. If we are all comforable with this language, I will add it to the plea
         agreement and send the revised signature page for signatures. We also still need the signed
         waiver of indictment.

         -John
Case 1:20-cr-00068-LEK Document 83-16 Filed 07/22/22 Page 3 of 3                                                         PageID.936


     From: William C. McCorriston <WMcCorriston@                >
     Sent: Thursday, August 27, 2020 3:12 PM
     To: Keller, John (CRM) <John.Keller@                 >; Sorenson, Ken (USAHI)
     <KSorenson@               >; Lowell, Abbe <ADLowell@             >
     Subject: Nickie Mali Lum Davis

     To expedite things I propose the following language:

     “The defendant understands that one of her attorneys, Abbe D. Lowell, has previously
     represented other individuals with whom Ms. Davis also has had contact or interactions and
     whose names have or might come up during her cooperation. Ms. Davis also understands
     that the United States Department of Justice has reviewed information concerning Mr.
     Lowell’s representation of certain clients on matters unrelated to Ms. Davis and has raised
     those matters with Mr. Lowell. Ms. Davis has discussed these issues and the resulting
     potential for conflicts of interest with Mr. Lowell and with third-party counsel and knowingly
     and intelligently waives any potential or actual conflict of interest as to Mr. Lowell and
     affirms that she wishes to proceed with Mr. Lowell as one of her attorneys in this matter.”

     Bill

      <image001.png>                   William C. McCorriston
                                       Founding Partner
                                       McCorriston Miller Mukai MacKinnon LLP
                                       Five Waterfront Plaza, 4th floor
                                       500 Ala Moana Boulevard
                                       Honolulu, Hawaii 96813
                                       (                       | 6                       | *     WMcCorriston@

     This message is intended only for the use of the individual or entity to which it is addressed and may contain information
     that is privileged, confidential and exempt from disclosure under applicable law. If the reader of this message is not the
     intended recipient, or the employee or agent responsible for delivering the message to the intended recipient, you are
     hereby notified that any dissemination, distribution or copying of this communication is strictly prohibited. If you have
     received this communication in error, please notify us immediately by e mail or telephone, and return the original
     message. THANK YOU.

     Anyone communicating to or from this office by means of an electronic device (including computers, smart phones, tablets
     or others) and using electronic communication (including e-mail, text messages, instant messages, chat rooms, comments
     on blogs or websites or others) is advised that such communications may not be confidential, particularly in instances
     where you are transmitting personal information using your employer's devices or networks or where you are using you
     are using public computers (such as libraries or hotels) or using a public wireless internet connection. The effect of the
     loss of confidentiality will be the loss of attorney-client privilege and the possibility that such communications may not be
     protected from disclosure in any legal procedure in which you are involved. You are cautioned to act accordingly.
